           Case 2:99-cr-00424-WBS Document 223 Filed 09/09/05 Page 1 of 4


PROB12A1                 UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                     REPORT OF OFFENDER NON-COMPLIANCE


Offender Name:                   Steven Scott HUBER

Docket Number:                   2:99CR00424-02

Offender Address:                Penn Valley, California

Judicial Officer:                Honorable William B. Shubb
                                 United States District Judge
                                 Sacramento, California

Original Sentence Date:          12/12/2001

Original Offense:                21 USC 843(b) - Use of Communication Facility to
                                 Facilitate the Commission of a Drug Trafficking Crime
                                 (CLASS D FELONY)

Original Sentence:               48 months custody Bureau of Prisons; 12 months
                                 Supervised Release; $10,000 fine; $100 special
                                 assessment

Special Conditions:              Warrantless search; Not dispose of or otherwise
                                 dissipate assets until fine is paid in full, unless with prior
                                 Court approval; Financial disclosure; Shall not incur
                                 new credit charges or open additional lines of credit
                                 without the approval of the probation officer; Participate
                                 in substance abuse treatment program (inpatient or
                                 outpatient) including testing and with a co-payment of
                                 $5 per month as directed by the probation officer; Not
                                 possess or have access to any paging device or cellular
                                 phone without the advance permission of the probation
                                 officer, and shall provide all billing records for such
                                 devices (whether used for business or personal) to the
                                 probation officer upon request; Shall register as
                                 required in the jurisdiction which he resides as a drug
                                 offender.

Type of Supervision:             Supervised Release




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                                                                                   P R O B 1 2A 1 .M R G
        Case 2:99-cr-00424-WBS Document 223 Filed 09/09/05 Page 2 of 4


RE:    Steven Scott HUBER
       Docket Number: 2:99CR00424-02
       REPORT OF OFFENDER NON-COMPLIANCE


Supervision Commenced:             10/25/2004

Assistant U.S. Attorney:           Mary L. Grad              Telephone: (916) 554-2700

Defense Attorney:                  Victor M. Perez           Telephone: (559) 625-2626
                                   Retained

Other Court Action:

08/15/2005:                        Prob 12A1 - Report of Offender Termination of
                                   Supervision: Court approved plan for outstanding fine
                                   balance upon termination of supervision on October 24,
                                   2005.


                            NON-COMPLIANCE SUMMARY

The purpose of this report is to advise the Court of an alleged violation of the terms of
supervision. The Probation Officer has developed a plan to dispose of the alleged
non-compliance with action less than revocation, and the Court is requested to approve the
plan to address the non-compliance.


1.     ILLICIT DRUG USE (08/12 through 08/26/2005)


Details of alleged non-compliance: On August 18, 2005, Mr. Huber submitted a urine
specimen to Community Recovery Resources in Grass Valley, California, which
subsequently tested positive for THC metabolites, indicating marijuana use. When
confronted by the probation officer with the positive test, Mr. Huber made a full admission
of his conduct, stating that between August 12, and August 26, 2005, he twice smoked
marijuana in a social situation. He made no excuses for his conduct and acknowledged
he had made a very poor decision. He made a commitment to totally refrain from any
further use of controlled substances or associating with people using controlled
substances, and will comply with any other directives of the probation officer or the Court.




                                                                                      Rev. 04/2005
                                             2                                   P R O B 1 2A 1 .M R G
        Case 2:99-cr-00424-WBS Document 223 Filed 09/09/05 Page 3 of 4


RE:    Steven Scott HUBER
       Docket Number: 2:99CR00424-02
       REPORT OF OFFENDER NON-COMPLIANCE


United States Probation Officer Plan/Justification: Mr. Huber will be subject to
increased random drug testing and substance abuse counseling as deemed necessary,
as an immediate sanction for his non-compliance. Over the course of supervision, he has
maintained clear conduct in all other areas, including stable residence and employment,
working two jobs. He has remained cooperative with the probation officer and truthful
about his activities, including the instant violation. He makes regular payments on his fine
balance, as previously reported to the Court.

As an aside, the Court is asked to take judicial notice that it has been ascertained that
while Mr. Huber was in the custody of the Bureau of Prisons, he made payments toward
his fine in the amount of $3,175, which were previously not accounted for by the Clerk's
Office. This will reduce his estimated fine balance at the end of supervision to $4,275.

Mr. Huber has been put on notice that any further non-compliance on his part will result in
Court action requesting much more serious sanctions or revocation. With these facts in
mind, it is respectfully recommended that the Court take judicial notice of Mr. Huber's
situational marijuana use, approve the plan set in place by the probation officer, and take
no further action at this time, pending his completion of supervision on October 24, 2005.

                                 Respectfully submitted,

                                  /s/ Thomas H. Brown

                                 THOMAS H. BROWN
                            United States Probation Officer
                              Telephone: (916) 786-6147

DATED:        September 6, 2005
              Roseville, California
              thb:cd

REVIEWED BY:                /s/ Richard A. Ertola
                     RICHARD A. ERTOLA
                     Supervising United States Probation Officer


                                                                                      Rev. 04/2005
                                             3                                   P R O B 1 2A 1 .M R G
       Case 2:99-cr-00424-WBS Document 223 Filed 09/09/05 Page 4 of 4


RE:   Steven Scott HUBER
      Docket Number: 2:99CR00424-02
      REPORT OF OFFENDER NON-COMPLIANCE



THE COURT ORDERS:

(x)   The Court Approves Probation Officer's Plan, and Orders No Further Action Be
      Taken At This Time.

Date: September 9, 2005




cc:   United States Probation
      Mary L. Grad, Assistant United States Attorney
      Victor M. Perez, Retained Defense Attorney

Attachment: Presentence Report (Sacramento only)




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                                         4                              P R O B 1 2A 1 .M R G
